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FOR THE DIsTRIcT oF MARYLAND
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UNITED sTATEs oF AMERICB;T BALT\H@R§

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JAMES HAIR, )

a/k/a “Mook,” ) (Conspiracy to Distribute Cocaine, 21
) U.S.C. § 846; Possession With Intent to
Defendant. ) Distribute Cocaine, 21 U.S.C. § 841)
) ‘
INDICTMENT
COUNT 1

(Conspiracy to Distribute and Possess With Intent to Distribute Controlled Substances)

The Grand Jury for the District of Maryland charges that:

From at least in or about March 2017 through the date of this lndictment, in the District of
Maryland and elsewhere, the defendant,

JAMES HAIR, a.k.a. “Mook,”
did knowingly and willfully combine, conspire, confederate, and agree With others known and
unknown to the Grand Jury to knowingly and intentionally distribute and possess With intent to
distribute 500 grams or more of a mixture or substance containing a detectable amount of
cocaine, a Schedule II controlled substance; a mixture or substance containing a detectable
amount of cocaine base, a Schedule II controlled substance; a mixture or substance containing a
detectable amount of heroin, a Schedule l controlled substance ; and a mixture or substance
containing a detectable amount of fentanyl, a Schedule ll controlled substance; in violation of
Section 84l(a)(l), (b)(l)(A), (b)(l)(C) of Title 21, United States Code.

21 U.s.c. § 846

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COUNT 2
(Possession With ]ntent To Distribute Cocaine and Cocaine Base)

The Grand Jury for the District of Maryland charges that:
On or about April 4, 2017, in the District of Maryland, the defendant,
.lAMES HAIR, a.k.a. Mook,
knowingly and willfully possessed with intent to distribute a mixture or substance containing a
detectable amount of cocaine, a Schedule ll controlled substance; and a mixture or substance

containing a detectable amount of cocaine base, a Schedule ll controlled substance, in violation

of Title 21, United States Code, Section 841(a)(l).

 

 

21 U.s.c. § 841.
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